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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

JASON CARR, VICKI LEMASTER,
EDWARD FORD SERVICES LLC,
CARLTON MORGAN, 365 SUN LLC,
and CANDICE WORTHY, individually
and on behalf of others similarly
situated,
                                                 CIVIL ACTION
                                             NO. 1:22-cv-01249-VMC
      Plaintiffs,

v.

KABBAGE, INC., d/b/a K SERVICING,

      Defendant.


        DEFENDANT KABBAGE, INC., D/B/A KSERVICING’S
     REPLY IN FURTHER SUPPORT OF ITS MOTION TO DISMISS
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      Plaintiffs have failed to address the legal deficiencies in their Complaint

identified by Defendant Kabbage Inc. d/b/a KServicing (“KServicing”) in its

Memorandum of Law in Support of its Motion to Dismiss (“Motion to Dismiss”).

Unable to refute the clear inadequacy of their pleading, Plaintiffs instead have

engaged in an irrelevant (and inaccurate) digression regarding their disapproval of

the fact that KServicing—like every other private participant—sought to make a

profit on the services it provided under the Paycheck Protection Program (“PPP”).

      Plaintiffs’ claims are clearly intended to enforce provisions of the CARES

Act, despite their protestations, and those claims fail because there is no private right

of action under that statute. Plaintiffs note with apparent approval that the House of

Representatives and Department of Justice have launched an investigation into PPP

loans.1 Plaintiffs however go on to argue the legally untenable position that such

investigations somehow provide a basis for their otherwise impermissible claims to

proceed. (See Opp. at 12, n. 1.) There is no legal authority for their assertion. Iqbal


1
  Plaintiffs tellingly omit that the congressional investigation was launched because
applicants submitted fraudulent information in support of their loan applications,
and not because the government determined KServicing administered PPP loans in
a fraudulent manner, as Plaintiffs repeatedly imply. (See Opp. at 11-13; id. 12 n. 1
(citing Letter from Chairman James Clyburn, House of Representatives Select
Subcommittee on the Coronavirus Crisis to Rob Frohwein, May 27, 2021)). Indeed,
the citations to congressional activities surrounding PPP borrower fraud supports
that lender decisions to request substantiating documents from applicants is neither
fraudulent, self-interested, nor inconsistent with SBA guidance or public policy.

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and Twombly are clear: a court must dismiss a complaint pursuant to Federal Rule

of Civil Procedure 12(b)(6) if the facts alleged do not entitle the plaintiff to relief.

See e.g. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2008); Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007).

      Plaintiffs’ theory, as characterized in their opposition, (Opp. at 12-14), is the

very definition of what the Eleventh Circuit has called “[c]onclusory allegations,

unwarranted deductions of facts or legal conclusions masquerading as facts” that

will not prevent dismissal.” Bonilla v. United States, 652 F.App’x 885, 889 (11th

Cir. 2016) (citation omitted). What Plaintiffs have not done in their opposition is

meaningfully address the legal arguments KServicing raised in the Motion to

Dismiss, or established they have pled facts supporting the essential elements of their

claims. Accordingly, this Court should dismiss Plaintiffs’ Complaint in its entirety.

I.    LEGAL ARGUMENT

      A.     Plaintiffs Cannot Maintain a Private Cause of Action Under the
             CARES Act, Requiring Dismissal of All Claims.

      Plaintiffs cannot escape the fact that no private right of action exists to enforce

the CARES Act. See Alexander v. Sandoval, 532 U.S. 275, 286 (2001) (“[P]rivate

rights of action to enforce federal law must be created by Congress.”); Tectonics,

Inc. v. Castle Constr. Co., 753 F.2d 957, 960 (11th Cir. 1985) (finding no private

right of action under Small Business Act, which was amended by CARES Act).

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      Plaintiffs cannot and do not address the numerous court decisions that have

concluded the newly enacted CARES Act does not provide a private right of action.2

Indeed, courts have already rejected the same arguments raised by Plaintiffs and

expressly held that disgruntled PPP loan borrowers cannot seek relief from the court.

See e.g. Shehan v. United States, No. 1:20-cv-00500, 2020 U.S. Dist. LEXIS

244022, at *28, 33 (S.D. Ohio Dec. 29, 2020) (“the [c]ourt lack[s] subject matter

jurisdiction” because “[n]othing in the text of § 1102 in particular or the CARES Act

in general states that a potential borrower whose PPP application was declined may

bring a claim in federal court.”).

      Plaintiffs seek to simply ignore this sea of authority in purported reliance on

Diagnostic Affiliates of Northeast Hous. LLC v. United Healthcare Services, Inc.,

No. 2:21-cv-00131, 2022 WL 214101, at **8-9 (S.D. Tex. Jan. 18, 2022), an


2
 See e.g. Saloojas, Inc. v. Aetna Health of Cal., Inc., No. 22-CV-01696, 2022 WL
2267786, at *4 (N.D. Cal. June 23, 2022); Murphy Med. Assocs., LLC v. Cigna
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11, 2022); Am. Video Duplicating, Inc. v. City Nat'l Bank, No. 220CV04036, 2020
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inapposite decision finding an implied private cause of action for COVID testing

centers to enforce the provision of the Families First Coronavirus Response Act and

the CARES Act’s “reimbursement requirement” based on the mandatory nature of

the reimbursement right in the statute. (Opp. at 23). This exception is premised on

the mandatory nature of the reimbursement requirement. There is no similar

mandatory provision in the CARES Act that would permit the claims here to

proceed. To the contrary, here, the SBA set forth regulations, and specifically

established an administrative review process for borrowers that are dissatisfied with

partial approval forgiveness decisions issued by their PPP Lenders. (See SBA

Procedural Notice Control No. 5000-827666 n. 1.) The SBA administrative process

sets forth the vehicle by which Plaintiffs should address their alleged concerns.

      Moreover, the narrow ruling in Diagnostic is inconsistent with the reasoning

of the majority of courts finding no private right of action whatsoever exists under

the CARES Act. (See infra. at 3 n. 2, 5; see also Opp. at 24 (citing decisions

dismissing complaints because no right of action exists under the CARES Act)).

      Plaintiffs argue alternatively they are “not seeking to enforce any provisions

of either statute,” (Opp. at 21), but such a position is contrary to the allegations pled

in the Complaint. Plaintiffs expressly, and repeatedly, cite KServicing’s purported

failure to comply with the terms of the CARES Act or SBA Act as the basis for each


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count of their asserted state law claims. (Compl. ¶¶ 243-244, 262, 264, 274, 278,

284, 297-298.) The arguments in Plaintiffs’ opposition are a transparent attempt to

recast their claims as something other than what they are on their face—a challenge

to KServicing’s performance in administering the CARES Act requirements.

      That Plaintiffs argue their claims are not specifically raised as violations of

the CARES Act does not save their defective pleading.3 (Opp. at 20.) Numerous

courts have dealt with plaintiffs’ attempts to circumvent prohibitions on private

rights of actions by simply renaming causes of action and outright rejected those

efforts. (See Doc. 12-1 at 18-20); see Lopez v. Bank of Am., N.A., 505 F. Supp. 3d

961, 974 (N.D. Cal. 2020) (holding the plaintiff’s state law claims must fail because

they are predicated on theory that he is entitled to an agent fee under the CARES

Act and the SBA Rule, and there is no private right of action under the CARES Act).



3
  Plaintiffs go so far as to incorrectly assert that an unrelated Complaint, filed by
KServicing, somehow supports their attempt to circumvent settled law proscribing
a private cause of action where none exists. (Opp. at 19-20.) As the allegations in
the Kabbage, Inc. d/b/a KServicing v. Customers Bank, No. 1:22-cv-02101 (N.D.
Ga.) complaint make clear, KServicing filed suit against Customers Bank (“CUB”)
because CUB breached the parties’ processing agreement (“PSA”). (No. 1:22-cv-
02101, Doc. 1 ¶ 9) (“This action arises out of Customers failure to pay KServicing
amounts owed for those services pursuant to the parties’ agreements.”) Thus,
KServicing filed suit because CUB breached the parties’ contract, not because CUB
violated a provision of the CARES Act. KServicing made no allegation regarding a
breach of the CARES Act. Plaintiffs here do the opposite. (Compl. ¶¶ 243-244,
262, 264, 274, 278, 284, 297-298.)

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      Plaintiffs conveniently ignore these decisions and seek to rescue their claims

by arguing that the “SBA does not completely preempt all state causes of action that

implicate standards created by the SBA.” (Opp. at 21.) The three decisions cited by

Plaintiffs, however, are inapposite and easily distinguishable.        None address

preemption as it relates to the newly enacted CARES Act, or the SBA regulations

that seek to enforce the CARES Act. (See id.) As noted above, the specific question

of preemption and the CARES Act has been analyzed by courts nationwide and those

courts have held that plaintiffs are precluded from bringing such claims. (Supra at

3, 5.) This Court should do the same.

      B.     Plaintiffs’ Claims Brought Pursuant to California, Michigan,
             North Carolina, and Florida Statutes Should Be Dismissed Because
             Georgia Law Governs.

      Plaintiffs’ claims brought under California, Michigan, North Carolina, and

Florida law should be dismissed because the dispute is governed by Georgia law.

Plaintiffs do not dispute that the Terms of Service are valid and enforceable, or that

a contractual choice-of-law provision bars actions brought under another state’s law.

(See Opp. at 26-28.) Instead, Plaintiffs incorrectly claim the choice-of-law provision

does not govern because KServicing has not established Plaintiffs agreed to, or were

on actual or constructive notice of the Terms of Service. (Opp. at 26-27.)




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      Plaintiffs at minimum had constructive notice of the website’s terms and

conditions because the bolded link to KServicing’s Terms of Service is accessible

from every page of KServicing.com, including the borrower sign-in page. 4 See e.g.

PDC Labs., Inc. v. Hach Co., No. 09-1110, 2009 U.S. Dist. LEXIS 75378, at *8

(C.D. Ill. Aug. 24, 2009) (“It is undisputed that the Terms were hyperlinked on three

separate pages of the online Plate order process in underlined, blue, contrasting text.

This contrasting text is sufficient to be considered conspicuous under Hubbert, even

though the Terms are only linked three times instead of five times, because it is not

the repetition of the display of a term that is determinative but the contrast of a

term.”); Hubbert v. Dell Corp., 835 N.E.2d 113, 121 (Ill. App. Ct. 2005) (holding

Texas law applied because the terms and conditions of sales contained a choice of


4
  KServicing’s Terms of Service are an example of a browsewrap agreement.
Browsewrap agreements are agreements that generally post terms and conditions on
a website via a hyperlink at the bottom of the screen. B&Z Auto Enters. v.
Autotrader, No. 1:16-CV-2313, 2017 U.S. Dist. LEXIS 229130, at *23 n.10 (N.D.
Ga. Mar. 13, 2017). Browsewrap agreements “do[] not require the user to manifest
assent to the terms and conditions expressly. Meyer v. Uber Techs., Inc., 868 F.3d
66, 75 (2d Cir. 2017). “A party instead gives his assent simply by using the website.”
B&Z Auto Enters., 2017 U.S. Dist. LEXIS 229130, at *23 n.10 (quoting Sw. Airlines
Co., 2007 U.S. Dist. LEXIS 96230). “[T]he determination of the validity of the
browsewrap contract depends on whether the user has actual or constructive
knowledge of a website's terms and conditions.” Id. Indeed, “[t]hat the Terms of
Service were available only by hyperlink does not preclude a determination of
reasonable notice.” Meyer v. Uber Techs., Inc., 868 F.3d 66, 78 (2d Cir. 2017). As
the Second Circuit explained, “clicking [a] hyperlinked phrase is the twenty-first
century equivalent of turning over the cruise ticket.” Id.

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law provision and the terms and conditions of sales was an enforceable agreement

because the hyperlink’s contrasting blue type makes it conspicuous). Plaintiffs’ do

not argue otherwise.

      Even if the Terms of Service are limited in the manner Plaintiffs claim, under

Georgia law, the doctrine of lex locus delictus would still bar all non-Georgia claims.

Lex locus delictus applies when addressing conflict of laws issues in tort cases.

Dowis v. Mud Slingers, Inc., 279 Ga. 808 (2005). Under lex locus delictus the

substantive law of the place where the alleged wrong occurred should govern—i.e.

Georgia, where KServicing purportedly failed to diligently process the loans. See

Bishop's Prop. & Inves., LLC v. Protective Life Ins. Co., 597 F. Supp. 2d 1354, 1359

(M.D. Ga. 2009) (“Under the rule of lex loci delicti, tort cases are governed by the

substantive law of the state where the tort was committed.”) (citation omitted).

      Therefore, Plaintiffs cannot maintain causes of actions brought under

California, North Carolina, Michigan, and Florida law because Georgia law governs.

      C.     Plaintiffs’ State Law Claims Fail Procedurally and Substantively
             and Should Be Dismissed.

             1.     Plaintiffs’ California Statutory Claims Fail.

      Plaintiffs have not pled a cognizable claim under California’s UCL. Plaintiffs

allege that KServicing violated Cal. Bus. & Prof. Code § 17200 which prohibits

“unfair competition.” The opposition confirms Plaintiffs have not and cannot


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sufficiently plead “fraudulent” or “unfair” conduct within the meaning of the

California statute.

      Plaintiffs broadly assert they have plausibly alleged fraudulent conduct but do

not identify the specific factual allegations supporting the purportedly fraudulent

statements. (Opp. at 36.) Plaintiffs’ conclusory assertion that a statement is false

will not suffice.      For example, Plaintiffs complain that KServicing’s website

contains the following allegedly false statement:

      “borrowers with loans under $150,000 who qualify to use the new Form
      3508S may not need to submit any supporting documentation,” but continuing
      to demand thousands of customers with loans under this threshold continue
      submitting unnecessary documentation.

(Compl. ¶ 297) (emphasis added); (Opp. at 36.) This is a non-binary statement and

cannot support a finding of falsity. The above statement merely says, it is possible

that borrowers with loans under $150,000 will not be required to submit supporting

documentation.        Accordingly, Plaintiffs’ allegation that KServicing requested

supporting    documentation      from   Plaintiffs   cannot   support   a   fraud   or

misrepresentation claim.

      Additionally, California’s Rosenthal Act is inapplicable to the parties

relationship and transactions for multiple reasons. First, KServicing is not a debt

collector within the meaning of the FDCPA. Contrary to Plaintiffs’ assertion,

because KServicing is a PPP loan servicer (see, e.g. Compl. at 1, 5 n.1, 16; id. ¶¶ 3,

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6, 10, 14, 214-219), operating akin to a mortgage servicing company, it does not fall

within the meaning of a FDCPA debt collector. See e.g. Lewis v. Navient Corp., No.

1:20-cv-0572, 2020 U.S. Dist. LEXIS 256377, 19, n. 7 (N.D. Ga. Apr. 2, 2022) (“the

FDCPA cannot succeed under the facts alleged, which expressly show that

Defendant was the servicer on Plaintiff’s loans, and not a debt collector.”).

      Further, the Rosenthal Act does not apply to the alleged misconduct because

it governs “consumer credit transaction[s]”—i.e. “a transaction between a natural

person and another person in which property, services, or money is acquired on

credit by that natural person from the other person primarily for personal, family, or

household purposes.” Cal. Civ. Code § 1788.2(e) (emphasis added). It is undisputed

that PPP loans are loans for small businesses, and not “primarily for personal, family,

or household purposes.” (Opp. at 38.) In an effort to circumvent the clear mandate

of the statute, Plaintiffs assert they are “natural persons” and their “use the loan funds

for ‘rent, utilities and interest mortgage’ qualifies the PPP loans” as “credit consumer

transaction.” (Id.) Not so. First, Plaintiffs expressly allege that they are “small

businesses.” (See, e.g. Compl. ¶ 20). Independently, as the FDCPA and Rosenthal

Act make clear, the transaction must occur between two natural persons. See Cal.

Civ. Code § 1788.2(e) (The term “consumer credit transaction” relates to “a

transaction between a natural person and another person in which property, services,


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or money is acquired on credit by that natural person from the other person primarily

for personal, family, or household purposes.”) Therefore, even if Plaintiffs qualify

as natural persons within the statute, KServicing does not.

      Finally, the PPP loans are administered to business owners for their respective

businesses. Plaintiffs’ purported use of the PPP loans for “rent, utilities and interest

on mortgage” cannot transform the transaction to one which is “primarily for

personal, family or household purposes,” as required under California law. See Cal.

Civ. Code § 1788.2(e). Plaintiffs can plead no set of facts that would bring their PPP

loan claims within the purview of the FDCPA or the Rosenthal Act.5

             2.     Plaintiffs’ Michigan Statutory Claims Fail.

      Plaintiffs likewise have not pled a legally cognizable claim under Michigan’s

Consumer Protection Act, Mich. Comp. Laws Ann. § 445.901, (“MCPA”).

Plaintiffs argue that KServicing was engaged in “trade or commerce” pursuant to §

445.902(g) of the MCPA. But, like the California consumer protection statutes, the

MCPA was enacted to protect consumers in purchases of goods that are primarily

used for personal, family or household purposes, regardless of the character of the

seller’s business. Noggles v. Battle Creek Wrecking, Inc., 395 N.W.2d 322, 323-24


5
  Plaintiffs not only fail to allege unlawful, unfair, or deceptive conduct, but
completely ignore that KServicing’s alleged misconduct with respect to pre-
populated loan forgiveness applications followed SBA guidance. (Doc. 12-1 at 25.)

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(Mich. Ct. App. 1986). As discussed above, the loans that are the subject of

Plaintiffs’ claims do not relate to personal, family, or household purposes, but rather

are business loans for small businesses. (Supra at 10-11.) Thus, Plaintiffs cannot

allege conduct falling within the MCPA.

             3.     Plaintiffs’ North Carolina Statutory Claims Fail.

      Plaintiffs have similarly failed to plead a valid claim under North Carolina’s

Unfair and Deceptive Trade Practices Act, N.C. Gen. Stat. § 75-54 (“UDTPA”).

      Rather than respond individually or substantively to KServicing’s arguments

in support of dismissing the North Carolina UDTPA claims, Plaintiffs make the

conclusory assertion that KServicing’s conduct “related to the pre-populated loan

forgiveness application is an unfair and deceptive act or practice.” (Opp. at 35-36.)

Plaintiffs provide no authority to support this statement and such conclusory labels

cannot save this claim from dismissal. Bonilla, 652 F.App’x at 889.

             4.     Plaintiffs’ Florida Statutory Claims Fail.

      Plaintiffs also have not pled a legally cognizable claim under Florida’s

Deceptive and Unfair Trade Practices Act, Fla. Stat. § 501.20 (“FUDTPA”).

Plaintiffs’ own allegations claim that KServicing is attempting to collect on

Plaintiffs’ loans (Compl. ¶¶ 163; 203.) yet the FUDTPA contains a debt collector

exemption. Plaintiffs simply ignore this fatal inconsistency specifically addressed


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in the Motion to Dismiss and simply assert, that they nonetheless have sufficiently

pleaded their claims. (Opp. at 39.) Plaintiffs’ assertion is not only unavailing, but

Plaintiffs’ failure to address KServicing’s argument constitutes a waiver of the

claim. See Barnes v. AstraZeneca Pharms. LP, 253 F. Supp. 3d 1168, 1171 (N.D.

Ga. 2017) (“When an argument is raised upon [a] motion to dismiss that a claim is

subject to dismissal, and the non-moving party fails to respond to such an argument,

such claims are deemed abandoned and subject to dismissal.”) (citations omitted).

             5.    Plaintiffs’ Georgia Statutory Claims Fail.

      Plaintiffs correctly note that KServicing referred to the Georgia Fair Business

Practices Act (“FBPA”), rather than the Georgia Uniform Deceptive Trade Practice

Act (“GUDTPA”) in its Motion to Dismiss.            Notwithstanding this mistake,

Plaintiffs’ GUDTPA claim still fails. “Unlike the FBPA, which permits a recovery

of damages, the sole remedy available under the [G]UDTPA is injunctive relief.”

Moore-Davis Motors, Inc. v. Joyner, 556 S.E.2d 137, 140 (Ga. Ct. App. 2001). But,

Plaintiffs did not plead any unique injunctive relief in support of their GUDTPA

claim. (See Compl. ⁋ 279.) As Plaintiffs have only asserted a claim for injunctive

relief in Count 1—which is impermissibly rooted in a purported violation of the

CARES Act, Plaintiffs cannot prevail on their GUDTPA claim.




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      D.     Plaintiffs Carr, Edward Ford Services LLC and Morgan’s Claims
             Should Be Dismissed for Failure to Exhaust Their Administrative
             Remedies.

      Plaintiffs Carr, Edward Ford Services LLC and Morgan’s claims should be

dismissed for failure to exhaust administrative remedies. It is undisputed that the

SBA promulgated a Procedural Notice outlining the “process being implemented by

SBA to allow [PPP] borrowers to request an SBA loan review of partial approval

forgiveness decisions issued by their PPP Lenders.” See Procedural Notice Control

No. 5000-827666 n. 1. Plaintiffs now seek to circumvent the exhaustion requirement

by asserting that they “contacted SBA regarding their loans and their forgiveness

status, [and] they were told to contact [], their loan provider.” (Opp. at 44-45.)

      As an initial matter, Plaintiffs’ attempt to allege new facts in their opposition

is improper and these statements should not be considered by the Court. See Hines

v. MidFirst Bank, No. 1:14-cv-00505, 2014 U.S. Dist. LEXIS 189295, at 36 (N.D.

Ga. Nov. 26, 2014) (“it is improper for Plaintiff to supplement or augment a

complaint in response to a motion to dismiss”) (citing Huls v. Llabona, 437 Fed.

Appx. 830, 832 n.5 (11th Cir. Aug. 15, 2011) (argument not properly raised where

plaintiff asserted it for the first time in response to defendant's motion to dismiss,

instead of seeking leave to file an amended complaint.)




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      Even if Plaintiffs had included the aforementioned allegation in their

Complaint, the allegation does not support dispensing with the exhaustion

requirement. Plaintiffs’ purported inquiries regarding their respective forgiveness

status does not equate to an attempt to seek an SBA loan review. Accordingly, this

Court should disregard Plaintiffs’ unsupported conclusory assertion regarding the

purported “impossibility of obtaining relief from the SBA,” and require exhaustion.

See Bonilla, 652 F.App’x at 889 (“[c]onclusory allegations, unwarranted deductions

of facts or legal conclusions masquerading as facts will not prevent dismissal.”).

II.   CONCLUSION

      For the foregoing reasons, Plaintiffs claims are insufficient as a matter of law.

Accordingly, Defendant KServicing respectfully requests that this Court dismiss the

complaint in its entirety with prejudice and award KServicing all such other relief to

which it is justly entitled. See Burger King Corp. v. Weaver, 169 F.3d 1310, 1320

(11th Cir. 1999) (affirming denial of leave to amend as futile because the claims the

plaintiff sought to add “were insufficient as a matter of lawˮ).

Dated: July 25, 2022
                                       Respectfully submitted,

                                       DENTONS US LLP

                                       /s/ Uchenna Ekuma-Nkama
                                       Uchenna Ekuma-Nkama
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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 JASON CARR, VICKI LEMASTER,
 EDWARD FORD SERVICES LLC,
 CARLTON MORGAN, 365 SUN LLC,
 and CANDICE WORTHY, individually
 and on behalf of others similarly
 situated,
                                                        CIVIL ACTION
                                                    NO. 1:22-cv-01249-VMC
         Plaintiffs,

 v.

 KABBAGE, INC., d/b/a KSERVICING,

         Defendant.


                CERTIFICATE OF SERVICE AND COMPLIANCE

      I certify that on July 25, 2022, I filed the foregoing DEFENDANT’S REPLY

IN FURTHER SUPPORT OF ITS MOTION TO DISMISS with the Clerk of

Court using the CM/ECF system, which will automatically send e-mail notification

of such filing to all counsel of record. I also certify that the foregoing was prepared

in accordance with N.D. Ga. L.R. 5.1, using Times New Roman font, 14 point.

                                                       /s/ Uchenna Ekuma-Nkama
                                                       Uchenna Ekuma-Nkama




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